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UNITED STATES DISTRICT COURT FOR THE
DISTRICT OF PUERTO RICO

Plaintiff(s), JAA- MC- 1/50 (rh 7 my “39

V.

Defendant(s).

 

STANDING ORDER

 

The undersigned has noticed a recent increase in telephone 118 to
law clerks and other court staff regarding matters pertaining to cases
pending in my docket. Some calls have also been made to Clerk of Court
staff anent status of motions pending in my docket.

Many of these phone calls relate to simple matters which can easily
be corroborated by accessing the court’s electronic case filing system.
Also, an alarming number of these phone calls pertain to matters which
necessarily must be addressed via motion, and which other parties to the
case should become aware of.

My law clerks, judicial assistant and other court staff do not work
for counsel, thus may not be tasked with such matters. Moreover, Clerk of
Court staff are not at liberty to provide information to counsel or parties
about cases being handled by the undersigned.

Accordingly, as of the date of this standing order, all counsel shall
refrain from contacting the undersigned’s law clerks as well as the
undersigned’s assigned docket clerk or docket quality assistant for any
case related matter. A motion is the appropriate mechanism to contact the

court.

 
 

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In the alternative, and especially for any matter regarding the
court’s calendar, counsel shall contact the undersigned’s courtroom deputy.
Law clerks do not handle my calendar,. thus should not be contacted.

In addition, all telephone calls to chambers and to the undersigned’s
courtroom deputy should be in consonance with the applicable Canons of
Professional Conduct and Judicial Ethics.

Any violation of this order will be severely sanctioned.

This standing order shall be notified to all members of the bar of
this court.

SO ORDERED.

In San Juan, Puerto Rico, April 4 , 2014.

fad Meade

AN M. PERHZ-GIMEN
ENIOR U. §. cranes JUDGE

 
